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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-&lt;A NAME="1"&gt;01&lt;/A&gt;-00&lt;A NAME="2"&gt;355&lt;/A&gt;-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;			

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;In re Sulzer O&lt;/A&gt;rthopedics, Inc.&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

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&lt;P&gt;	We deny &lt;SPAN STYLE="font-family: Times New Roman"&gt;Sulzer Orthopedics, Inc.'s petition for writ of mandamus.  Accordingly, we
withdraw our order granting temporary relief dated June 29, 2001.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;	It is ordered July 20, 2001.&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Justices Kidd, B. A. Smith and Yeakel&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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